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                                   8                                    UNITED STATES DISTRICT COURT
                                   9                                NORTHERN DISTRICT OF CALIFORNIA
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                                         CAROLOS PERDOMO,
                                  11                                                     Case No. 17-06962 BLF (PR)
                                                           Plaintiff,
                                  12                                                     JUDGMENT
Northern District of California




                                                   v.
 United States District Court




                                  13

                                  14     WARDEN MUNTEZ, et al.,
                                  15                      Defendants.
                                  16

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                                  18           For the reasons set forth in the Order of Dismissal, this action is dismissed with
                                  19   prejudice under Federal Rule of Civil Procedure 41(a)(1)(A)(ii).
                                  20           IT IS SO ORDERED.
                                  21   Dated: __October 20, 2020________                 ________________________
                                                                                         BETH LABSON FREEMAN
                                  22
                                                                                         United States District Judge
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                                  25   Judgment
                                       PRO-SE\BLF\CR.17\06962Perdomo_judgment
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